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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LEVISTRAUSS & CO., )
) Case No, 18-cv-01258
Plaintiff, )
) Judge Manish S. Shah
v. )
) Magistrate Judge Young B. Kim
2017SHARP, et al., )
)
Defendants. )
)

 

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on April 18, 2018 [38], in favor
of Plaintiff Levi Strauss & Co. (“LS&Co.”) and against the Defendants Identified in Schedule A
in the amount of two hundred thousand dollars ($200,000) per Defaulting Defendant for willful
use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale of
products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment of
an agreed upon. damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendants:

 

 

 

 

Defendant Name Line No.
corset mart 15
kansasdeal 27

 

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendants are hereby acknowledged, and the Clerk of the Court is hereby authorized and

directed to make an entry of the full and complete satisfaction on the docket of said judgment.

 
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Dated this 18" day of April 2019.

Respectfully submitted,

Golf
Afny C. Ziegler J
Justin R. Gaudio
Jessica L. Bloodgood
RiKaleigh C. Johnson
Greer, Burns & Crain, Ltd.
300 South Wacker Drive, Suite 2500
Chicago, Illinois 60606
312.360.0080 / 312.360.9315 (facsimile)
aziegler@gbc.law
jgaudio@gbc.law
jbloodgood@gbc.law
rjohnson@gbc.law

Counsel for Plaintiff Levi Strauss & Co.

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 18th day of April 2019.

Given under by hand and notarial seal.

CAITLIN SCHLIE

ial Seal ;
Offic ate of HinoiS

Nov 20, 2024

Notary Public - State
My Commission Expires

 

(hebibh Sy —

Notary Public

State of Illinois
County of Cook
